Securing the Vote: Protecting American Democracy
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                               Committee on the Future of Voting:
                            Accessible, Reliable, Verifiable Technology

                           Committee on Science, Technology, and Law

                                       Policy and Global Affairs

                        Computer Science and Telecommunications Board

                           Division on Engineering and Physical Sciences




                                  A Consensus Study Report of




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           ANALYSIS OF COMPONENTS OF ELECTIONS                                                        79

           Voters may inspect a VVPAT to see whether it reflects their intended selec-
           tions before their votes are recorded in computer memory. If voters do not
           verify that the information on their VVPAT is accurate, inaccuracies may be
           recorded. Those with vision or other impairments or limitations may not,
           however, be able to perform this inspection. Furthermore, it may be dif-
           ficult to track patterns of VVPAT errors that would indicate fraud. Finally,
           a combined approach that uses DREs and printers introduces complexity
           and adds new points of potential failure at the polling place.
                Jurisdictions typically transmit ballots to those wishing to cast ballots
           via mail. Ballots may sometimes be retrieved from an elections website for
           printing and completion by remote voters. Some jurisdictions may also
           provide remote voters with software to prepare their ballots. While this
           software avoids problems associated with manual use of paper ballots such
           as undervotes and overvotes and spoiled ballots (as voters get immediate
           feedback before completing their ballots), it introduces additional security
           risks. Completed ballots are returned via mail, at designated collection
           points, or, in certain instances, by fax or via the Internet.
                Well designed, voter-marked paper ballots are the standard for usability
           for voters without disabilities. Research on VVPATs has shown that they are
           not usable/reliable for verifying that the ballot of record accurately reflects
           the voter’s intent, but there is limited research on the usability of BMDs for
           this purpose. BMDs moreover, may produce either a full ballot, a summary
           ballot, or a “selections-only” ballot. Unless a voter takes notes while voting,
           BMDs that print only selections with abbreviated names/descriptions of the
           contests are virtually unusable for verifying voter intent.75
                Human beings must, however, interact not only with ballots, but also
           with all components of election systems. A usability failure of any particu-
           lar component of an election system can be as detrimental as a failure of
           usability in the ballot. A voting system must be usable in a way that allows
           a voter to verify that the ballot of record correctly reflects his or her intent.
           Vote tabulation systems must be usable in a way that facilitates the correct
           tallying and tabulation of votes. Auditing technology must be useable in a
           way that enables efficient recounting.


                                                     Findings
                Not all voting systems have the capacity for the independent auditing
           of the results of vote casting. Electronic voting systems that do not produce

             75 By hand marking a paper ballot, a voter is, in essence, attending to the marks made on his
           or her ballot. A BMD-produced ballot need not be reviewed at all by the voter. Furthermore,
           it may be difficult to review a long or complex BMD-produced ballot. This has prompted calls
           for hand-marked (as opposed to BMD-produced) paper ballots whenever possible.




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